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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  THE STATE OF TEXAS, et al.,             §
                                          §
          Plaintiffs,                     §
  v.                                      §    Civil Action No. 4:20-cv-00957-SDJ
                                          §
  GOOGLE LLC,                             §
                                          §
          Defendant.                      §




        GOOGLE’S REPLY BRIEF IN SUPPORT OF ITS MOTION TO CLARIFY THE
       COURT’S SCHEDULING ORDER TO PROVIDE FOR POTENTIAL POST-TRIAL
                     PROCEEDINGS ON INJUNCTIVE RELIEF
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          Plaintiffs’ opposition to Google’s Motion to Clarify, ECF No. 571 (“Motion”),1 boils

 down to two core arguments: (1) bifurcation would not promote judicial economy; and (2)

 Plaintiffs would be prejudiced by bifurcation at this stage of the case. ECF No. 574 (“Opp.”) at

 10-11 (efficiency), 8-15 (prejudice).      Both arguments fail.       Even Plaintiffs acknowledge

 additional discovery on injunctive relief may be necessary after the liability trial, effectively

 conceding that bifurcation would avoid inefficient discovery on injunctive relief now. Indeed, all

 that Plaintiffs have disclosed in discovery on injunctive relief at this stage is two short

 interrogatory responses and a small portion of the Economist Report with high-level, theoretical

 observations on equitable remedies—just roughly 20 of the 900 pages of expert reports Plaintiffs

 served on June 7—so they would face no prejudice from bifurcation. And, even if there were

 any prejudice, it could be readily cured by appropriate case management measures, including

 permitting Plaintiffs to withdraw, and avoid questions at deposition or trial on, this portion of the

 Economist Report. Meanwhile, absent bifurcation, the parties and Court will be burdened with

 costly, unfocused pre-trial discovery and litigation on remedies, only to do it all over again

 post-trial tailored to the actual liability finding (if any). For the reasons in its Motion and below,

 Google respectfully requests that the Court grant its Motion and enter the Proposed Order.

                                            ARGUMENT

          A. While Not Required Here, Good Cause Exists.
          Plaintiffs contend that Google must demonstrate good cause because its Motion seeks to

 modify the Scheduling Order. Opp. 14-15. But a showing of good cause is not required here

 because Google does not seek an extension of a deadline that it cannot meet. See, e.g., Order at

 3, ECF No. 457 (May 1, 2024) (“May 2024 Order”).               Google simply seeks to clarify the

 Scheduling Order, which does not provide a process for post-trial proceedings on injunctive

 1
     Unless indicated otherwise, Google adopts the same defined terms as in the Motion.
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 relief.2 In any event, as explained in the Motion and below, good cause exists here because

 bifurcation (i) is appropriate under Rule 42(b) to serve judicial economy and due process, and (ii)

 would not cause any prejudice to Plaintiffs.3 See TIGI Linea Corp. v. Pro. Prod. Grp., 2021 WL

 1264427, at *2 (E.D. Tex. Apr. 6, 2021) (finding good cause based on information in briefing).4

        B. Plaintiffs Effectively Concede the Judicial Economy of Bifurcation Here.
        Nothing in Plaintiffs’ opposition outweighs the important judicial economy and due

 process principles supporting the Proposed Order. Mot. 6-13 (judicial economy), 13-15 (due

 process). See also, e.g., Cellular, 2017 WL 2267296, at *2 (finding good cause for scheduling

 order modification based on “important” consideration of “judicial efficiency”); Polycom, Inc. v.

 Codian, LTD, 2007 WL 7658922, at *3 (E.D. Tex. Apr. 23, 2007) (granting bifurcation to

 “streamline . . . discovery,” “promote judicial economy,” and avoid “confus[ing] and burden[ing]

 a jury that will already be confronted with a fairly complex” case).

        The liability and remedy issues in this case are complex and will each consume

 significant judicial resources, and Plaintiffs do not credibly contend otherwise. Plaintiffs do not

 dispute that they have not detailed the particular form any injunctive relief would take. Mot. 2-4.

 They also do not dispute that a liability determination in Google’s favor would obviate the need

 for any remedies discovery or proceedings. Nor do they dispute that, in the event of a liability


 2
    As the Eastern District of Virginia concluded under similar circumstances, “seeking some
 clarification on that matter is appropriate.” ECF No. 550-6 at 2-4 (establishing post-trial
 equitable relief proceedings without requiring good cause). Contrary to Plaintiffs’ insinuation,
 Opp. 13, this Order did not give Google reason to seek earlier clarification here, as Plaintiffs had
 not indicated they intended to proceed any differently than in the Search and Play Cases. Mot. 5.
 3
   In this brief, Google cites cases under both the bifurcation and good cause standards because,
 no matter which applies, the same considerations support entry of the Proposed Order.
 4
   Contrary to Plaintiffs’ mischaracterization, Opp. 14-15, Google sought clarification promptly
 and did not engage in any “strategic delay.” Mot. 5-6. In any event, good cause still exists even
 if Plaintiffs’ claim is credited. See, e.g., Cellular Commc'ns Equip. LLC v. AT&T Inc., 2017 WL
 2267296, at *2 (E.D. Tex. May 24, 2017) (despite claim of delay, finding good cause based on
 “judicial efficiency,” lack of prejudice, and offer of “additional limited discovery”).

                                                  2
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 determination in Plaintiffs’ favor, any request for injunctive relief must be tailored to the

 as-yet-unknown liability determination and that this determination may foreclose certain relief.

 Id. at 9-10. Plaintiffs accordingly concede the judicial economy of “separate proceedings on

 liability and remedy in the form of a jury trial on liability followed by post-trial briefing and

 other proceedings on equitable remedies as this Court may find appropriate.” Opp. 11 (cleaned).

        On discovery, however, Plaintiffs want it both ways. They claim to oppose the Proposed

 Order’s approach of deferring discovery on injunctive relief until after the liability trial, while

 conceding that, once the liability determination is known, “additional post-trial discovery on

 remedies” “may become necessary.” Id. Plaintiffs essentially propose that the parties engage in

 two rounds of discovery on equitable remedies, one now before the liability determination is

 known—even though, in Plaintiffs’ own words, “[m]uch of this effort by the parties and the

 Court would likely be wasted” (ECF No. 550-11 at 10)—and one after the liability trial, in the

 event of a finding in Plaintiffs’ favor. Plaintiffs provide no legitimate basis for this inefficient

 approach that is contrary to well-established practice and their past positions.5 They cite no

 antitrust case in which discovery on injunctive relief has proceeded in this way.

        Contrary to Plaintiffs’ assertion, Opp. 10-11, it will still serve judicial economy to avoid

 speculative discovery now on a hypothetical post-trial request for injunctive relief that may

 change (or be foreclosed by) the as-yet-unknown liability determination. For example, it would

 save substantial resources for the parties and the Court to defer further costly litigation involving

 any Google expert reports addressing the equitable remedies portion of the Economist Report,

 5
   The cases Plaintiffs cite involve circumstances where, unlike here, the party seeking bifurcation
 sought separate juries or other relief that would plainly cause delay or duplicative work. See,
 e.g., Guedry v. Marino, 164 F.R.D. 181, 185-86 (E.D. La. 1995) (seeking seven separate trials);
 Brown Bottling Grp., v. Imperial Trading Co., 2022 WL 4110918, at *7 (S.D. Miss. Sept. 7,
 2022) (seeking to limit initial discovery to non-dispositive claim); Laitram Corp. v.
 Hewlett-Packard Co., 791 F. Supp. 113, 114 (E.D. La. 1992) (seeking two juries).

                                                  3
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 Plaintiffs’ rebuttals, and expert depositions, Dauberts, or in limine motions on these reports.6

        C. There Is No Credible Claim of Prejudice, and Any Prejudice Could Be Cured.
        While they acknowledge their approach would run counter to the typical approach courts

 take in complex antitrust cases to “avoid inefficiencies,” Opp. 10, 12-14, Plaintiffs urge a

 different path based on purported “prejudice.” They claim that bifurcation of discovery on

 injunctive relief at this stage would cause “severe prejudice,” Opp. 8, because roughly 20 of the

 900 pages of expert reports Plaintiffs served on June 7 contain a high-level discussion of

 potential equitable remedies.7 This purported prejudice, if any, is minimal, and could be cured.

        Plaintiffs dramatically overstate the significance of the Economist Report’s opinions on

 equitable remedies, which provide nothing more than a high-level, theoretical framework on

 equitable remedies.8 Contrary to Plaintiffs’ assertion, this information does not give Google an

 “advantage” in any aspect of this case. Indeed, it is substantially similar to Plaintiffs’ high-level

 interrogatory responses,9 and like those responses, does not detail the particular form any such

 remedies would take. By comparison, in successfully moving to compel disclosure of all of

 Google’s expert reports from the Virginia Ad Tech Case—thousands of pages across dozens of

 issues—Plaintiffs disclaimed any prejudice to Google or “unfair advantage” to Plaintiffs from

 their “sneak peek” into Google’s positions before expert discovery began. See ECF No. 342 at 6.

 Plaintiffs cannot now credibly claim prejudice, let alone “severe prejudice,” from the Economist


 6
   See, e.g., ECF No. 550-11 at 10 (Plaintiffs emphasizing that, without bifurcation in Search
 Cases, expert reports “would likely require significant revisions to track the specific factual
 findings” at trial and “expert depositions would likely need to be retaken”).
 7
   See ECF No. 574-5, at 75-95 (21 out of a total of 95 pages).
 8
   He theorizes about a “structural remedy” in the form of a “[d]ivestiture of the [DFP] publisher
 ad server” (id. ¶¶ 209-15) and three potential “behavioral remedies” in the form of
 “non-discriminatory interoperability” (id. ¶¶ 221-48), “[i]nternal separation with best interest
 duties and firewalls” (id. ¶¶ 249-66), and “transparency disclosure requirements” (id. ¶¶ 267-77).
 9
   See ECF No. 550-2 at 24 (referring to “potential” DFP divestiture); id. at 23 (referring to eight
 “potential” behavioral remedies, including with respect to interoperability and disclosures).

                                                  4
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 Report’s limited, high-level, and incremental disclosures on equitable remedies.

        Even if the Court were to find some minimal prejudice,10 appropriate case management

 measures “would alleviate any prejudice” and would be “insignificant when considered in the

 larger framework of this case.” See May 2024 Order at 8.11 Specifically, Google proposes that

 (i) Plaintiffs be permitted to withdraw the equitable remedies section of the Economist Report

 (which, as a standalone section, requires no “gerrymander[ing],” Opp. 10), and (ii) Google shall

 be precluded from questioning the economist at deposition or trial on the withdrawn opinions.

        Plaintiffs also claim prejudice based on vague, unspecified concerns over “delay” and a

 “threat[]” to their claimed “jury-trial right.” Opp. 9-10. But equitable remedies are reserved for

 the Court following any liability determination, as Plaintiffs recognize (Opp. 11). And, in the

 event this case proceeds before a jury, the Proposed Order will streamline the liability trial and

 avoid confusing and burdening the jury with evidence on remedies that it has no authority to

 decide.12 Far from delaying resolution, bifurcation will—in Plaintiffs’ own words—result in

 “more efficient proceedings.” See ECF No. 550-11 at 11. The Court could also guard against

 any potential delay by expediting remedies discovery and proceedings after trial, if there is a

 liability finding. In addition, nothing in the Proposed Order “threatens” any claimed “jury-trial

 right.” Opp. 9. In the event this case proceeds before a jury, the Court can structure the trial as

 appropriate, with Plaintiffs free to present all facts regarding liability, including facts that may

 implicate both liability and remedies.

 10
    A finding of potential prejudice does not require denial of the Motion, and Plaintiffs’ cases do
 not establish otherwise. See, e.g., Polycom, 2007 WL 7658922, at *3 (granting motion to
 bifurcate despite nonmovant’s claimed prejudice from “discovery issues for two separate trials”).
 11
    See also, e.g., Meier v. UHS of Delaware, Inc., 2021 WL 1561615, at *7 (E.D. Tex. Apr. 21,
 2021) (“Even assuming slight prejudice did exist, such prejudice could be cured” through
 defendant’s proposal for additional discovery); TIGI, 2021 WL 1264427, at *3 (similar).
 12
    Google does not concede that any issues must be tried to a jury, but, in any event, the question
 of equitable remedies is plainly reserved for the Court and not to be tried to a jury.

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 Dated: July 24, 2024               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that, on July 24, 2024, this document was filed electronically in compliance with

 Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

 Local Rule CV-5(a)(3)(A).


                                                             /s/ Kathy D. Patrick
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